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UNITED sTATEs BANKRUPTCY CoURT, SoUTHERN DISTRICT oF FLoRIDA

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CHAPTER 13 PLAN ilndividual Adjustment of Deth1

 

 

 

 

|:| Original Plan
|:| an Amended Plan (Indicate lst, 2nd, etc. Amended, if applicable)
|:| Modified Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: Libertad Trujillo JOINT DEBTOR: CASE NO.: 18-1 l339-AJC
SS#: xxx-xx- QL_ SS#: xxx-xx-
I. _ NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of` service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph V]lI. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of` the following:

 

 

 

 

 

 

The valuation of a secured claim, set out in Section III, which ma result in a .
partial payment or no payment at all to the secured creditor y |:| lncluded |:| Not lncluded
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set |:| lncluded |:' Not included
out in Section III

Nonstandard provisions, set out in Section VIII |:] lncluded |:| Not included

 

 

II. PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S)‘ ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused

amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

l. $12382.93 for months l to 47 ;
B. DEBTOR{S!' ATTORNEY'S FEE: m NONE m PRO BONO
Total Fees: $6250.00 Total Paid: $520.00 Balance Due: $5730.00
Payable $121.92 /month (Months _1_ to £ )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3500.00 + $2500 (Ml\/IM) + $150 (base costs) + $100 (MMM costs) = $6250.00

 

Applications for compensation must be filed for all fees over and above the Court‘s Guidelines for Compensation.

 

 

III. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: fl NONE
[Retain Liens pursuant to ll U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

 

1- Creditor¢ le Financial services (Poc #2-1)
AddI‘CSSI 314 Fra¥lklill Stl'€et Arrearage/ Payoff on Petition Date

PO Box 517 MMM P _ 2 / th th 1 47
Titusville’ PA 16354 Adequate rotection __M mon (Mon s __ to__ )

 

Last 4 Digits of
Account No.: 5 735

Other:

 

 

 

 

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IV.

VI.

VII.
VIII.

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Description of Collateral:

Debtor(s): Libertad Trujillo Case number: 18-11339-AJC
|:] Real Property "Check one below for Real Property:
|:[Principal Residence \:|Escrow is included in the regular payments
|:]Other Real Property |:]The debtor(s) will pay l:|taxes |:linsurance directly

Address of Collateral:
331 NW 61 AVe., Miami, FL 33126

[:\ Personal Property/Vehicle

.\¢B»-

 

 

 

B. VALUATION OF COLLATERAL: |E NONE

C. LIEN AVOIDANCE E:| NONE
D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution forn the Chapter 13 Trustee.

iii NONE
E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive'a distribution
fom the Chapter 13 Trustee.

§§ NONE
TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in ll U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS§S!' ATTORNEY'S FEE: [:l NONE
B. INTERNAL REVENUE SERVICE: il NONE
C. DOMESTIC SUPPORT OBLIGATION§S|: § NONE
1). oTHER= §§ NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS

A. Pay $0.00 /month (Months 1 to £ )

 

 

 

 

 

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. § If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSlFlED: [E NONE
*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.
EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.
§!m_| NONE
INCOME TAX RETURNS AND REFUNDS: [:l NONE

NON-STANDARD PLAN PROVISIONS f:} NONE
f:] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

 

 

 

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[:] Mortgage Modification Mediation

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Debtor(s): Libertad Trujillo Case number: 18-11339-AJC
l The debtor has filed a Verified Motion for Referral to MMM with:
BSI Financial Services

loan number 5735
for real property located at 331 NW 61 Ave., Miami, FL 33126

("Lender")

 

The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
by the trustee and not upon receipt by the lender.

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Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation

of the plan or modified plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
14 calendar days following settlement Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

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If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of the plan. The parties Will then timely comply with any and all requirements
necessary to complete the settlement,

In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately .
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly. §§

If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days aRer the mediator’s Final Report is a
filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof` of Claim (if the lender has filed a Proof of
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real .
property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in rem stay l
relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
of Claim.

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Debtor(s): Libertad Trujillo Case number: 18-11339-AJC

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Libertad Trujino Date Date
Patrick L. Cordero /s/ 5/30/2018
Attomey with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attomey for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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